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                       MENDOZA vs. GENERAL MOTORS LLC

                          CASE NO. 1:16-CV-00967-LJO-JLT

                   JOINT PRETRIAL STATEMENT – APPENDIX B

                               JOINT WITNESS LIST

                     Witness Name                 Plaintiff   GM LLC
1.     Jason Achterberg                              X          X
       Hall Ambulance Service
       1001 21st St.
       Bakersfield, CA 93301-4792
       Responding EMT
2.     Wesley Backes                                 X          X
       Kern County Fire Department
       5642 Victor St.
       Bakersfield, CA 93308
       Responding EMT
3.     George A. Baker                               X
       Kern County Fire Department
       5642 Victor St.
       Bakersfield, CA 93308
       Responding EMT

4.     Alexis Belluchi, or Designee                  X
       Iowa Department of Human Services
       1305 E. Walnut
       Des Moines, IA 50319-0114
       Plaintiff Non-Retained Expert – Medical
       Billing
5.     Brent Benson, Ph.D., P.E.                     X          X
       Benson Engineering Utah, Inc.
       805 South 500 West, Suite #2
       Payson, UT 84651
       GM LLC Expert – Accident Reconstruction
6.     Gregory B. Black                              X          X
       Kern County Fire Department
       5642 Victor St.
       Bakersfield, CA 93308
       Responding EMT
7.     David R. Bosch, Ph.D.                         X
       Forensic Engineering, Inc.
       4665 South Ash Avenue
       Suite G4
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                     Witness Name                 Plaintiff   GM LLC
       Tempe, AZ 85282
       Plaintiff Expert – Forensic Engineer and
       Materials Scientist

8.     Patrick Caprioli                              X          X
       Bakersfield Fire Department
       2101 H St.
       Bakersfield, CA 93301
       Responding EMT
9.     David Dillingham Chappell                     X          X
       3102 South Pacific Avenue
       Santa Ana, CA 92704
       Striking vehicle driver
10.    Jeffrey J. Croteau                            X          X
       Exponent
       9 Strathmore Road
       Natick, MA 01760
       GM LLC Expert – Automotive Structure
       and Design Performance
11.    John E. (Jack) Dahlberg, M.A.                 X          X
       Dahlberg & Associates Rehabilitation
       Consultants
       13353 West Alameda Parkway, #301
       Lakewood, CO 80228
       GM LLC Expert – Life Care Planner
12.    Laura Fuchs Dolan, MBA                        X          X
       501 West Broadway, Suite 710
       San Diego, CA 92101
       GM LLC Expert - Economist
13.    R. Patrick Donahue, P.E., CFEI, CVFI          X
       Augspurger Komm Engineering, Inc.
        3315 E. Wier Avenue
       Phoenix, AZ 85040
       Plaintiff Expert – Electrical Engineer

14. Keith Elliot                                     X          X
    Kern County Fire Department
    5642 Victor St.
    Bakersfield, CA 93308
    Responding EMT
15. Virginia Gonzalez-Rodriguez                      X          X
    1083 22nd Street, Apt. 1
    Des Moines, IA 50311
    Passenger in subject Astro
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                    Witness Name                   Plaintiff   GM LLC
16.   Jonathan Hernandez                              X          X
      Kern County Fire Department
      5642 Victor St.
      Bakersfield, CA 93308
      Responding EMT
17.   William Howard, D.O., FAAP                      X
      Mercy Pediatrics
      330 Laurel Street, Suite 2100
      Des Moines, IA 50314
      Plaintiff Non-Retained Expert - Pediatrics
18.   Robert Izenberg, M.D.                           X
      1700 Mount Vernon Avenue
      Bakersfield, CA 93306
      Plaintiff Non-Retained Expert – Physician
      and Surgeon (General)
19.   Kent A. Jayne, M.A., M.B.A., C.R.C.,            X
      C.L.C.P., C.C.M., D.A.B.V.E.
      Worklife Resources, Inc.
      P.O. Box 5336
      Cedar Rapids, IA 52406-5336
      Plaintiff Expert – Life Care Planner
20.   Kevin Kemp, M.D.                                X
      1700 Mount Vernon Avenue
      Bakersfield, CA 93306
      Plaintiff Non-Retained Expert – Physician
      and Surgeon (General)
21.   Frederick T. Klingbeil, M.D.                    X
      ChildServe
      5406 Merle Hay Road
      Johnston, IA 50131
      Plaintiff Expert - Medical Director of
      Pediatric Rehabilitation Medicine
22.   Huizhen Lu                                      X          X
      GM Global Technical Center
      6400 Zora Arkus-Duntov Road
      Warren, MI 48092
      GM LLC Expert – Automotive Engineer
23.   Agripino Mendoza Martinez                       X          X
      1083 22nd St. Apt. 1
      Des Moines, IA 50311
      Driver of subject Astro
24.   Reinaldo Flavio Hernandez Martinez              X          X
      1039 19th Street
      Des Moines, IA 50314
      Passenger in subject Astro
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                   Witness Name                   Plaintiff    GM LLC
25. Officer Eric Medeiros                            X           X
    California Highway Patrol
    4040 Buck Owens Blvd.
    Bakersfield, CA 93308
    Police officer who responded to the subject
    crash
26. Jacqueline Mendoza                               X         GM LLC
    ADDRESS                                                   Objects – not
    Plaintiff’s Cousin                                         properly
                                                               disclosed
27. Janeel Hernandez Mendoza                                       X
    1039 19th Street
    Des Moines, IA 50314
    Passenger in subject Astro
28. Leydy Mendoza                                    X             X
    1039 19th Street
    Des Moines, IA 50311
    Passenger in subject Astro
29. Miriam Michelle Mendoza                          X             X
    1083 22nd Street Apt. 1
    Des Moines, IA 50311
    Plaintiff and passenger in subject Astro
30. William J.P. Meyer, M.D.                         X
    Kern Faculty Medical Group, Inc.
    291 Mount Vernon Avenue, Suite 221
    Bakersfield, CA 93306
    Plaintiff Non-Retained Expert – Physician
    and Surgeon (Neurosurgery)
31. Nancy Fraser Michalski, R.N., B.S.N.             X             X
    Elevate Services, Inc.
    201 South Santa Fe Avenue, Suite 100
    Los Angeles, CA 90012
    GM LLC Expert – Certified Legal Nurse
    Consultant/Medical Bill Auditor
32. Fred Miller                                      X
    Kern County Fire Department
    5642 Victor St.
    Bakersfield, CA 93308
    Responding EMT
33. Barzin Mobasher, Ph.D                                          X
    c/o Cynthia L. Jewett
    Senior General Counsel
    Arizona State University
    P.O. Box 877405
    Tempe, AZ 85287-7405
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                  Witness Name                    Plaintiff   GM LLC
    See Declaration produced with the 4th
    supplemental disclosure.
34. Charles Nelson                                   X
    Bakersfield Fire Department
    2101 H St.
    Bakersfield, CA 93301
    Responding EMT
35. Louis R. Peck                                    X
    Dial Engineering
    10736 Jefferson Boulevard # 519
    Culver City, CA 90230
    Plaintiff Expert – Mechanical Engineer
    and Accident Reconstructionist

36. Jeffrey Scott Perkins                            X          X
    Hall Ambulance Service
    1001 21st St.
    Bakersfield, CA 93301-4792
    Responding EMT
37. Michael G. Perry                                 X          X
    Kern County Fire Department
    5642 Victor St.
    Bakersfield, CA 93308
    Responding EMT
38. Amanda Powers, or Designee                       X
    Childserve
    5406 Merle Hay Road
    Johnston, IA 50131
    Plaintiff Non-Retained Expert – Medical
    Billing
39. Mark C. Pozzi, M.S., FAAFS, FACFE                X
    Sandia Safety Sciences
    2 Marietta Court, Suite A
    Edgewood, NM 87015
    Plaintiff Expert – Research Scientist, Test
    Engineer, and Safety and Crashworthiness
    Consultant
40. Elizabeth H. Raphael, M.D., F.A.C.E.P.           X          X
    Delta V Biomechanics, Inc.
    930 Commercial Street
    Palo Alto, CA 94303
    GM LLC Expert – Biomechanics
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                     Witness Name                    Plaintiff   GM LLC
41.   Amanda Jacquelin Rivera                           X          X
      Hall Ambulance Service
      1001 21st St.
      Bakersfield, CA 93301-4792
      Responding EMT
42.   Hilda Ruiz, or Designee                           X
      Kern Medical Center,
      KMC Business Office
      1700 Mount Vernon Avenue
      Bakersfield, CA 93306-4197
      Plaintiff Non-Retained Expert – Medical
      Billing
43.   Cody Rushing                                      X
      Kern County Fire Department
      5642 Victor St.
      Bakersfield, CA 93308
      Responding EMT
44.   Sarah S. Sharpe, Ph.D.                                       X
      Exponent
      23445 N. 19th Ave.
      Phoenix, AZ 85027
      Dr. Sharpe will lay foundation for the April
      24, 2018 subject vehicle inspection
      photographs, videos, scans, and scan data.
45.   Samuel Swanson                                    X          X
      Hall Ambulance Service
      1001 21st St.
      Bakersfield, CA 93301-4792
      Responding EMT
46.   David C. Viano, Ph.D.                             X          X
      265 Warrington Road
      Bloomfield Hills, MI 48304
      GM LLC Expert – Biomechanical Safety
      Engineer
47.   Carley C. Ward, Ph.D.                             X
      Biodynamics Engineering, Inc.
      720 E. La Salle Street
      Phoenix, AZ 85040
      Plaintiff Expert - Biomechanics
48.   Parris Ward, J.D.                                 X
      Biodynamics Engineering, Inc.
      1011 Swarthmore Avenue, Suite 1
      Pacific Palisades, CA 90272
      Plaintiff Expert – Litigation Graphics
      Consultant
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                  Witness Name             Plaintiff    GM LLC
49. Randal Woodard                            X           X
    Bakersfield Fire Department
    2101 H St.
    Bakersfield, CA 93301
    Responding EMT
